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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

SETA BAKALIAN, Case No.: 2:21-cv-01691-RAO
Plaintiff, {PROPOSED} ORDER AWARDING
EQUAL ACCESS TO JUSTICE ACT
Vs. ATTORNEY FEES AND EXPENSES
PURSUANT TO 28 U.S.C. § 2412(d)
KILOLO KIJAKAZI, AND COSTS PURSUANT TO 28
Acting Commissioner of Social U.S.C. § 1920
Security,
Defendant

 

Based upon the parties’ Stipulation for the Award and Payment of Equal
Access to Justice Act Fees, Costs, and Expenses:

IT IS ORDERED that fees and expenses in the amount of $1,400.00 as
authorized by 28 U.S.C. § 2412, and costs in the amount of $400.00 as authorized
by 28 U.S.C. § 1920, be awarded subject to the terms of the Stipulation.

DATE: November 15, 2021 .
Rayelis a. QC

HONORABLE ROZELLA A. OLIVER
UNITED STATES MAGISTRATE JUDGE

 

 
